                                             Case 2:24-cv-00371-PA-AGR Document 56-6 Filed 05/13/24 Page 1 of 3 Page ID #:900




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                                                                    UNITED STATES DISTRICT COURT
                                             21                    CENTRAL DISTRICT OF CALIFORNIA
                                                   KELLYE CROFT,
                                             22                                          Case No. 2:24-cv-00371-PA (AGR)
                                                             Plaintiff,
                                             23                                          [PROPOSED] ORDER DENYING
                                                       vs.                               DOLAN DEFENDANTS’ MOTION
                                             24                                          TO DISMISS
                                                JAMES DOLAN, HARVEY
                                             25 WEINSTEIN, JD & THE STRAIGHT
                                                SHOT, LLC, THE AZOFF COMPANY
                                             26 HOLDINGS  LLC f/k/a/ AZOFF
                                             27      [PROPOSED] ORDER DENYING DOLAN DEFENDANTS’ MOTION TO
                                             28                             DISMISS
                                             Case 2:24-cv-00371-PA-AGR Document 56-6 Filed 05/13/24 Page 2 of 3 Page ID #:901




                                                 MUSIC MANAGEMENT, LLC, THE
                                               1 AZOFF COMPANY LLC f/k/a AZOFF
                                                 MSG ENTERTAINMENT, LLC, DOE
                                               2 CORPORATIONS 1-10,
                                               3                         Defendants.
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                                             27      [PROPOSED] ORDER DENYING DOLAN DEFENDANTS’ MOTION TO
                                             28                             DISMISS
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                                               1       The Court, having considered the arguments submitted by Plaintiff Kellye
                                               2 Croft in her Memorandum of Law in Opposition to Dolan Defendants’ Motion
                                               3 to Dismiss, hereby ORDERS as follows: The Dolan Defendants’ Motion to
                                               4 Dismiss is DENIED.
                                               5
                                               6
                                               7 IT IS SO ORDERED
                                               8 DATED: ______, 2024              ______________________________
                                               9                                  The Honorable Percy Anderson
                                             10                                   UNITED STATES DISTRICT JUDGE
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                                             27      [PROPOSED] ORDER DENYING DOLAN DEFENDANTS’ MOTION TO
                                             28                             DISMISS
